     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 1 of 14. PageID #: 190




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION
  UNITED STATES OF AMERICA,                        )     CASE NO. 1:18CR229
                                                   )
                         Plaintiff,                )
                                                   )     JUDGE JOHN R. ADAMS
                 v.                                )
                                                   )     UNITED STATES OF AMERICA=S
  WILLIAM L. WINE, JR.,                            )     SENTENCING AND RESTITUTION
                                                   )     MEMORANDUM
                         Defendant.                )

       Now comes the United States of America, by and through Justin E. Herdman, United

States Attorney, through Robert J. Patton and Suzana K. Koch, Assistant United States

Attorneys, and respectfully submits this Sentencing and Restitution Memorandum in anticipation

of the sentencing hearing set for Tuesday, April 16, 2019, at 12:00 p.m.

                                                       Respectfully submitted,

                                                       Justin E. Herdman
                                                       United States Attorney

                                             By:        /s/ Robert J. Patton
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     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 2 of 14. PageID #: 191



                                       MEMORANDUM

       This memorandum will address the primary components of this Court’s consideration of

Defendant=s sentence. On January 14, 2019, Defendant William L. Wine, Jr. (“Defendant”)

pleaded guilty to three counts of Wire Fraud in violation of Title 18, United States Code, Section

1343. The first part of this memorandum will state the government=s position on loss amount,

sentencing enhancement applicability and corresponding guideline calculation under the United

States Sentencing Guidelines (“USSG”). Secondly, the government will then turn to the factors

set forth in Title 18, United States Code, Section 3553 and their application to the present case.

Finally, the government will present its position on restitution.

I.     Guideline Calculation

       A.      Loss Amount

       As an initial matter, a district court is required to make a finding as to loss amount by a

preponderance of the evidence using a reasonable estimate predicated upon the facts of the case.

The Sixth Circuit Court of Appeals has announced that a district court determines loss by a

preponderance of evidence standard. United States v. Blackwell, 459 F.3d 739, 772 (6th Cir.

2006) (citing United States v. Davidson, 409 F.3d 304, 310 (6th Cir. 2005)). In describing the

above standard for ascertaining a loss amount, the Sixth Circuit noted that, Athe district court’s

findings are not to be overturned unless they are clearly erroneous.@ United States v. Triana, 468

F.3d 308, 321 (6th Cir. 2006) (citing United States v. Guthrie, 144 F.3d 1006, 1011 (6th Cir.

1998)) See United States v. Poulsen, 655 F.3d 492, 512-513 (6th Cir. 2011) (reviewing the

District Court=s adherence to Rule 32(i) of the Federal Rules of Criminal Procedure as part of

making a ruling on loss amount) and United States v. Abdelsalam, 311 Fed.Appx. 832, 845-846,

2009 WL 415987 (6th Cir. 2009). With respect to adjudicating the loss amount arising from



                                                  2
      Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 3 of 14. PageID #: 192



financial frauds, the Triana court noted, A[i]n situations where the losses occasioned by financial

frauds are not easy to quantify, the district court need only make a reasonable estimate of the

loss, given the available information. Such estimates >need not be determined with precision.=@

Triana, supra., at 320. (citations omitted) (citing United States v. Miller, 316 F.3d 495, 503 (4th

Cir. 2003) and Application Note 2, subpart (C), to USSG § 2B1.1) 1. The Triana court also noted

the USSG=s distinction between Aactual loss@ and Aintended loss.@ Id. AActual loss@ is Athe

reasonably foreseeable pecuniary harm that resulted from the offense.@ Id. (citing Application

Note 2, subpart (A)(I) and (ii), to USSG § 2B1.1) 2. AIntended loss@ is Athe pecuniary harm that

would have been possible or likely to occur.@ Id. (citations omitted.) In analyzing the foregoing

distinction, the Triana court followed Application Note 2 to USSG § 2B1.1 which states that,

Aloss is the greater of actual loss or intended loss.@ Id. Therefore, a district court must determine

the greater of actual loss and intended loss, making a reasonable estimate, by a preponderance of

the evidence.

         A defendant=s loss calculation is predicated upon the actual loss or intended loss caused

by defendant=s conduct rather than his or her own personal gain as a result of the criminal

conduct. In Triana, the defendant, who had previously been convicted of health care fraud, was

convicted of fraudulently billing Medicare, through his company, for approximately $2,900,000

for podiatric services and receiving approximately $1,700,000 in payments. The district court

found the appropriate loss amount to be $1,700,000. On appeal, Triana argued that his loss

amount should have been the amount of his own personal gain. The Triana court rejected this


         1
          In the 2016 edition of the USSG, the notion of a “reasonable estimation of loss” is set forth in § 2B1.1,
Application Note 3(C), p. 96.

         2
         In the 2016 edition of the USSG, the definitions of “Actual Loss,” “Intended Loss,” and “Pecuniary
Harm” as described in § 2B1.1, Application Note 3(A)(i)(ii) and (iii), respectively, p. 95-6.


                                                          3
      Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 4 of 14. PageID #: 193



argument in holding, A[c]ourts have consistently held that in calculating loss, >substitution of

defendant=s gain is not the preferred method because it ordinarily underestimates the loss.=@

(emphasis in original.) Id., at 323. (citing United States v. Snyder, 291 F.3d 1291, 1295 (11th Cir.

2002), United States v. Chatterji, 46 F.3d 1336 (4th Cir. 1995) and United States v. Haddock, 12

F.3d 950, 960 (10th Cir. 1993)). Accordingly, Defendant is legally responsible for the entire

scope of the financial harm occasioned by their criminal conduct rather than the benefit they

received.

         The Sixth Circuit has also addressed circumstances wherein a defendant disputes the loss

amount stated in the Presentence Investigation Report (PSR) submitted to a court. Although

there is no dispute on loss in this case, when the loss amount is disputed the government must

demonstrate the loss amount by a preponderance of the evidence or the district court must

engage in a fact-finding process. Poulsen, supra., 655 F.3d at 513. The Poulsen Court noted,

“[the court may not blindly accept the PSR, but ‘[when a defendant fails to produce any evidence

to contradict the facts set forth in the PSR, a district court is entitled to rely on those facts when

sentencing the defendant.’” Id. (quoting United States v. Garcon, 506 F.3d 461, 467 (6th Cir.

2007)). Therefore, the Poulsen Court held that the government=s burden to produce evidence is

“triggered” when a defendant offers something more than a “bare denial” regarding the accuracy

of the loss amount described in the PSR. 3 Id.

         In the present case, the proper loss is calculated in one group as all the counts arise from

violations of 18 U.S.C. § 1343 (Wire Fraud). Using the holding of Triana, the loss amount is

derived from victims’ IRA accounts Defendant controlled and used throughout the scheme.


         3
            In Poulsen, defense counsel=s argument at sentencing that the "loss amounts were not proven at trial" was
rejected as the loss amount is determined by "losses stemming from criminal activity based on a preponderance of
the evidence." Id., supra, 655 F.3d 513-514.


                                                         4
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 5 of 14. PageID #: 194



Those amounts per the plea agreement’s factual basis are as follows: $289,000 to victim J.D.

(Count 1), $155,000 to victim T.V. (Count 2) and $497,000 to victim D.M. (Count 3) for a total

loss amount of $941,000.

       B.      Sentencing Enhancements

       The following enhancements apply to all the counts in the Indictment:

       Abuse of Position of Trust - USSG ' 3B1.3

       As set forth in USSG § 3B1.3, a defendant’s offense level increases by two-levels “[i]f

the defendant abused a position of public or private trust . . ..” See United States v. Allen, 712

Fed. Appx. 527 (6th Cir. 2017); United States v. Tribble, 206 F.3d 634, 635 (6th Cir. 2000);

United States v. Ragland, 72 F. 3d 500, 502 (6th Cir. 1996). The purpose of §3B1.3 is to

penalize defendants who take advantage of a position that provides them with the freedom to

commit a difficult-to-detect wrong.” United States v. Brack, 651 F.3d 388, 393 (4th Cir. 2011)

(quoting United States v. Bollin, 264 F.3d 391, 415 (4th Cir. 2001)). “The trust relationship

arises when a person or organization intentionally makes himself or itself vulnerable to someone

in a particular position, ceding to the other’s presumed better judgment some control over their

affairs.” United States v. Brogan, 238 F.3d 780, 783 (6th Cir. 2001); Ragland, 72 F. 3d at 503.

       For the enhancement to apply, the position of public or private trust must have

contributed in some significant way to facilitating the commission or concealment of the offense

and the person or persons which defendant held such a position must have been the victim or

intended victim of the offense. Id. at 502 (citing United States v. Moored, 997 F.2d 139, 145

(6th Cir. 1993)). See also United States v. Kaminski, 501 F.3d 655 (6th Cir. 2007) (“abuse of

trust” enhancement properly applied to a defendant who sold FDA-unapproved drugs to the

public); United States v. Allison, 59 F.3d 43, 46 (6th Cir. 1995) (sentence properly enhanced



                                                  5
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 6 of 14. PageID #: 195



where defendant, responsible for drafting checks to be sent to creditors and reconciling bank

statement when checks were returned, used her position to embezzle the funds intended to pay

the creditors), cert. denied, 516 U.S. 1002 (1995)). The decision by a lower court to apply

USSG §3B1.3 is a question of law reviewed de novo. Tribble, 206 F.3d at 635 (citing Ragland,

72 F.3d at 502. See United States v. Dixon, 66 F.3d 133, 135 (6th Cir. 1995)).

       To determine whether Defendant was in a position of trust, Sixth Circuit precedent

dictates that the key factor is to look at “the level of discretion accorded to an employee” as “the

decisive factor in determining whether his position was one that can be characterized as a trust

position.” Brogan, 238 F.3d at 783 (quoting Tribble, 206 F.3d at 637). The position must be one

“characterized by substantial discretionary judgement that is ordinarily given considerable

deference.” Id. (quoting Ragland, 72 F.3d at 503). See United States v. Hodge, 259 F.3d 549,

556 (6th Cir. 2001) (holding application of two-level abuse of trust enhancement appropriate);

United States v. Brown, 47 Fed. Appx. 305, 313 (6th Cir. 2002) (abuse of trust position properly

applied as defendant had trust relationship with victims and exercised considerable discretion);

United States v. Lang, 333 F.3d 678, 683 (6th Cir. 2003) (enhancement upheld where

defendant’s unsupervised discretion to hire independent companies and submit their invoices for

payment facilitated both the commission and concealment of the offense); United States v.

Gilliam, 315 F.3d 614, 618 (6th Cir. 2003) (explaining that a “position of trust arises almost as if

by implication when a person or organization intentionally makes himself or itself vulnerable to

someone in a particular position, ceding to the other's presumed better judgment some control

over their affairs” (internal quotation marks omitted)). Simply put, the court looks to the amount

of discretion Defendant had to act on behalf of the victim. An abuse of position of trust is

typically those persons holding positions where there is significantly less supervision than



                                                 6
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 7 of 14. PageID #: 196



employees whose responsibilities have little to no discretion. United States v. Cox, 665 Fed.

Appx. 457, 460 (6th Cir. 2016); See also Brogan, 238 F.3d at 783; USSG § 3B1.3 cmt. n. 1

(examples of where the enhancement is appropriate correspond to the types of relationships

where fiduciary duties are often implied: physician-patient, lawyer-client, officer-organization);

United States v. Fata, 650 Fed. Appx. 260, 263 (6th Cir. 2016) (holding district court properly

added two-levels to sentence based on abuse of position of trust by physician who intentionally

misdiagnosed patients).

       Here, the abuse of trust enhancement is clearly applicable to Defendant. A fiduciary duty

exists between an investment advisor and a client and the inherent nature of the work itself

naturally conveys a substantial degree of discretion to the defendant. Tribble, 206 F.3d at 637.

See United States v. Trammell, 133 F.3d 1343, 1355-56 (10th Cir. 1998) (holding abuse of trust

by a fiduciary was appropriate where defendant used his position as an insurance agent to solicit

funds from investors claiming to purchase annuities but used funds for his own personal benefit).

“An investment advisor/broker is typically an individual who is entrusted with the discretionary

authority to manage the assets of his or her clients through the application of specialized

knowledge. Such a person is well positioned to commit a difficult-to- detect wrong. This is

especially true where the investment advisor/broker is his own employer . . . and is therefore

subject to no internal supervision or authority.” United States v. Queen, 4 F.3d 925, 929 (10th

Cir. 1993) (holding that defendant occupied a position of trust); United States v. Hirsch, 239

F.3d 221, 227 (2d Cir. 2001).

       In this case, Defendant offered his services as an investment advisor to victims in order to

gain control over their individual retirement accounts where he had significant discretion to use

his clients’ money as he wished. Additionally, Defendant occupied a position of trust based on



                                                 7
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 8 of 14. PageID #: 197



the personal relationships with many of his clients. Many of his clients were associates of his

father. See Hirsch, 239 F.3d at 228 (defendant developed personal relationships with his client

wherein they relied on and trusted him). Like Hirsch, Wine’s abuse of trust facilitated his crime

as he used his client’s trust in him to discourage them from demanding their money and the lack

of oversight permitted him to commit the offense virtually undetected. Abuse of a purely

personal relationship of trust in furtherance of a fraudulent scheme is a legitimate ground for

imposition of the enhancement. United States v. Baldwin, 414 F.3d 791, 799 (7th Cir. 2005)

(citing United States v. Strang, 80 F. 3d 1214, 1220 (7th Cir. 1996)) (affirming application of

abuse of trust enhancement where defendant, although not a licensed investment broker,

convinced victims to invest in a fraudulent scheme by befriending them). Defendant transferred

funds from the IRA accounts to a trust account at a law firm in California where he would then

have individuals wire money from the IRA accounts to a Kenton Industries account. “Where an

individual makes himself particularly vulnerable by entrusting another with substantial authority

and discretion to act on his behalf and then relies upon and defers to that person, a decision to

take advantage of that trust and vulnerability is particularly abhorrent, as it undermines faith in

one's fellow man in a way that the ordinary pick-pocket simply cannot.” Ragland, 72 F. 3d at

503. It should be noted that, Defendant has previously been convicted of a similar offense where

he was subjected to a two-level abuse of trust enhancement. Based on the above, the abuse of

position of trust enhancement should be applicable to Defendant.




                                                  8
      Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 9 of 14. PageID #: 198



       Accordingly, Defendant’s USSG guideline calculation is as follows:

Counts 1-3 – Wire Fraud, 18 U.S.C. § 1343
Base offense level                                                           7    § 2B1.1(a)(1)
Loss: (between $550,000 - $1,500,000)                                       14    § 2B1.1(b)(1)(H)
Abuse of Position of Trust                                                   2    § 3B1.3
Total Offense Level before Acceptance of Responsibility                     23

II.    Application of Title 18 U.S.C. § 3553 Factors

       A.      Standard for Imposing a Sentence under 18 U.S.C. § 3553

       The Sixth Circuit Court of Appeals requires that a district court provide a reasonable

explanation of its application of the sentencing factors set forth in Title 18 § 3553 of the United

States Code in imposing sentence. In Blackwell, 459 F.3d at 773, the Sixth Circuit announced:

       The job of the district court is to impose A>a sentence sufficient, but not greater
       than necessary, to comply with the purposes= of section 3553(a).@ In reaching a
       sentence that complies with the purposes of § 3553(a), the district court must
       consider the Sentencing Guidelines range and all relevant § 3553 factors. While a
       district court need not explicitly reference § 3553 or recite a list of factors, it must
       provide a reasoned explanation for its choice of sentence and its explanation must
       be sufficiently thorough to permit meaningful appellate review. . . . This Court
       will only uphold a sentence if it is reasonable. Reasonableness contains two
       facets: substantive and procedural. In reviewing for reasonableness, the Court
       employs a presumption for substantive reasonableness.

Id. (citations omitted). The Sixth Circuit has recently stated that, “while a district court need not

engage in a ‘ritualistic incantation’ of the § 3553(a) factors, its reasoning must be ‘sufficiently

detailed to reflect considerations listed in § 3553(a)’ and to allow for meaningful appellate

review.” United States v. Tanner, 2010 WL 2545589, No. 09-5177, (6th Cir. June 11, 2010)

(quoting United States v. Bolds, 511 F.3d 568, 581 and United States v. Mayberry, 540 F.3d 506,

518 (6th Cir. 2008)). Therefore, a district court must impose a reasonable sentence while

expressing enough of its rationale to permit an appellate court to understand the basis for the

sentence imposed.




                                                  9
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 10 of 14. PageID #: 199



       B.      § 3553(a)(1) - The Nature and Circumstances of the Offense and the History
               and Characteristics of the Defendant

       The nature of Defendant=s criminal conduct coupled with the fact that this would be his

second conviction within the last 15 years for a similar offense warrants a sentence within the

guideline range set forth above. The plea agreement’s factual basis accurately recounts the

nature and extent of Defendant’s conduct.

       C.      § 3553(a)(2)(A) - The Need for the Sentence Imposed to Reflect the
               Seriousness of the Offense, to Promote Respect for the Law, and to Provide
               Just Punishment for the Offense and § 3553(a)(2)(B) - Afford Adequate
               Deterrence to Criminal Conduct

       The manner in which Defendant executed his criminal conduct, as described above,

warrants the guideline sentence. Such a sentence will reinforce the rule of law regarding

engaging in fraudulent schemes over a period of years. Theft by deceit occurring over a period

of time should be dealt with more harshly than simple theft. Whereas ordinary theft is by and

large an impersonal act, theft by deceit, like its cousin fraud, is entirely personal. Brogan, 238

F.3d at 783.

       D.      § 3553(a)(2)(B) - Afford Adequate Deterrence to Criminal Conduct

       A sentence within the calculated guideline range is appropriate to deter similarly situated

individuals inclined to engage in wire fraud.

       E.      § 3553(a)(2)(C) - Protect the Public from Further Crime of the Defendant

       There can be no dispute as to the seriousness of defendant's offense. The victims in this

case, entrusted defendant with managing their IRA accounts, and defendant abused that trust by

misappropriating a substantial sum of money from their retirement accounts and using those

funds to pay defendant's own personal expenses. Imposing a guideline sentence as calculated by

the government will protect the public.



                                                 10
       Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 11 of 14. PageID #: 200



         F.     § 3553(a)(2)(D) - Provide Defendant with Needed Educational or Vocational
                Training, Medical Care, or Other Correctional Treatment in the Most
                Effective Manner

         The Government submits that any treatment Defendant receives as part of his sentence

should be in the context of some term of incarceration as his conduct and restitution ordered.


III.     Restitution will be ordered against Defendant William L. Wine, Jr. pursuant to the
         Mandatary Victim Rights Act.

         Restitution orders are authorized by statute, 18 U.S.C. §§ 3663, 3663A, and 3664, and

are distinct and separate from the United States Sentencing Guidelines. When sentencing a

Defendant convicted of an offense against property under Title 18 of the United States Code,

including any offense committed by fraud or deceit, the Mandatory Victims Restitution Act (the

“MVRA”) requires the court to order that the defendant make restitution to the victim of that

offense. 18 U.S.C. §§ 3663A(a)(1); 3663A(c)(1)(A)(ii). The MVRA requires those convicted

of offenses against property under Title 18 to pay restitution for victims’ losses. United States

v. Elson, 577 F.3d 713, 721 (6th Cir. 2009).

         Restitution constitutes punishment. United States v. Schulte, 264 F.3d 656 (6th Cir.

2001); see also United States v. Bearden, 274 F.3d 1031, 1041 (6th Cir. 2001) (restitution is

“punitive rather than compensatory in nature”). “Although the guidelines mandate imposition

of restitution where allowable under the statutes, the restitution statutes function independently

from the guidelines and do not rely on the guidelines for their validity.” United States v.

Sosebee, 419 F.3d 451, 462 (6th Cir. 2005). “Restitution under the MVRA is a criminal penalty

and a component of the defendant’s sentence.” United States v. Adams, 363 F.3d 363 (5th Cir.

2004) (quoting United States v. Chaney, 964 F.2d 437, 451 (5th. Cir. 1992)).

         The MVRA specifically states that the amount of restitution should be equal to the



                                                 11
     Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 12 of 14. PageID #: 201



“amount of each victim’s losses as determined by the court and without consideration of the

economic circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A) (when a court is ordering

restitution, the amount of restitution should be equal to the “amount of each victim’s losses as

determined by the court.” Sosebee, 419 F.3d at 462 (18 U.S.C. § 3664(f)(1)(A) (emphasis in

original)).

        Restitution should be made payable by Defendant William L. Wine, Jr., to the victims of

his fraud, in the total amount of $941,000 as follows:

        1.     J.D. in the amount of $289,000,

        2.     T.V. in the amount of $155,000; and

        3.     D.M. in the amount of $497,000.

        In this case, the victims were directly harmed as a result of the Defendant’s fraud. Here,

Defendant unlawfully transferred monies from victim IRA accounts without their knowledge

totaling $941,000. As a direct and proximate result of Defendant’s affirmative conduct, the

victims suffered financial loss. This loss would not have occurred if not for the Defendant’s

fraudulent actions.




                                                 12
      Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 13 of 14. PageID #: 202



IV.     Conclusion

        Defendant engaged in a scheme to defraud his investment clients to gain control over

individual retirement accounts by offering his investment services in order to obtain money for

his own personal use. Defendant should be held to account for the full measure of his conduct.

Accordingly, a sentence within the guideline level set forth in the plea agreement is appropriate.

Additionally, restitution should be ordered in the total amount of $941,000, due and payable

immediately.

                                                     Respectfully submitted,

                                                     Justin E. Herdman
                                                     United States Attorney

                                             By:      /s/ Robert J. Patton
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                                                13
    Case: 1:18-cr-00229-JRA Doc #: 28 Filed: 04/09/19 14 of 14. PageID #: 203



                              CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2019, a copy of the foregoing document was filed

under seal with the Clerk of Courts. A copy of this filing was sent via email and regular U.S.

mail to counsel for the defendant:


                                                    /s/ Robert J. Patton
                                                    Robert J. Patton
                                                    Assistant U.S.
                                                    Attorney




                                              14
